   Case 19-17058-ABA            Doc 23    Filed 07/18/19 Entered 07/18/19 17:10:53             Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

In re:                                         :               Case No.:       _______________
                                                                                  17-24538
                                               :
Jessica Caraballo                              :               Adv. No.:       _______________
                                               :
                                               :               Judge:              Altenburg
                    Debtor (s),                :
_____________________________________________ :                Chapter:        _______________
                                                                                     13


                                          NOTICE OF HEARING

       You are hereby notified of a hearing before the Honorable Andrew B. Altenburg, Jr., United States
Bankruptcy Judge.

         Reason for Hearing:             Motion To Reinstate Stay as to Creditor
                                         NationStar, LLC


         Location of Hearing:            Courtroom No. 4B
                                         Mitchell H. Cohen U.S. Courthouse
                                         400 Cooper Street
                                         Camden, NJ 08101


Date and Time:                           __________________________________________,
                                         08/06/2019 at 10:00am
                                         or as soon thereafter as counsel may be heard.


Please note that the movant must timely serve a copy of the motion/application on all relevant parties,
including the trustee, advising them of the hearing date and time listed above. The movant must also file a
certificate of service with the court stating that all parties were served and advised of the hearing date and
time. Also note that the movant must attend the hearing or the motion may be denied. If you have any
questions, please contact Bruce Compton at 856-361-2325.


DATED:          ____________________
                07/15/2019                              JEANNE A. NAUGHTON, Clerk



                                         CERTIFICATE OF MAILING

        I HEREBY CERTIFY that on ___________________________________
                                              07/15/2019             the foregoing notice was
served on the following:
Jessica Caraballo, Debtor



                                                         JEANNE A. NAUGHTON, Clerk
